        Case 2:13-cr-00015-RWS-JCF Document 1 Filed 04/24/13 Page 1 of 4

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                                                            FILED IN CHAMBERS
                    :IN THE UNITED STATES DISTRICT      COURT U.S.D.C. Atlanta

                    FOR THE NORTHERN DISTRICT OF GEORGIA             APR! 4 2013
                            GAINESVILLE DIVISION                 JAMES N. HAllEN; Clerk
                                                             By:      ~ Deputy Clerk
    UNITED STATES OF AMERICA
                                                 CR:IMINAL INDICTMENT
              v.
                                                NO. 2:13-CR-lS
    LARRY MCDANIEL,
         a/k/a "Larry Mack,"
    HOWARD BROWN, and
    SEAN KING


    THE GRAND JURy CHARGES THAT:

                                   COUNT ONE
                               (18 U.S.C.   §   371)

         1.     Beginning in or about June 2012, and continuing until
    on or about August 16, 2012, in the Northern District of Georgia,
    the defendants, LARRY MCDANIEL, a/k/a "Larry Mack," HOWARD BROWN,
    and SEAN KING, did knowingly and intentionally combine, conspire,
    confederate, agree, and have a tacit understanding with each
    other, to commit offenses against the United States, that is, (1)
    to vjolate Title lS, United states Code, Section lS12(c){2), in
    that the defendants would corruptedly obstruct, influence, and
    impede an official proceeding, to wit: an investigation being
    conducted by the Federal Bureau of Investigation (FBI) in which
    D.B.S. was acting as an undercover informant for the FBI and

    Michael Griffin, a/k/a "GriffiN a law enforcement officerI' was
    acting in an undercover capacity, and (2) to violate Title 18,
    United States Code, Section 1512{c) (2), in that the defendants

                                       1
     Case 2:13-cr-00015-RWS-JCF Document 1 Filed 04/24/13 Page 2 of 4




would corruptedly obstruct, influence, and impede an official
proceeding, to wit: a federal grand jury investigation into
criminal offenses investigated by the FBI, said FBI investigation
involving D.B.S. acting as an undercover informant and Michael
Grif.fin, a/k/a "Griff," a law enforcement officer, acting in an
undercover capacity .
     .2.   In furtherance of the conspiracy f      and to effect the
obj ects and purposes the.reof, one or more of the following overt
acts were committed:
     (a}   In about June 2012, an unknown co-conspirator advised
defendant LARRY MCDANIEL that D.B.S., a member of the Cleveland
Georgia Chapter of the Black Pistons Motorcycle Club was a       ~fed"

or federal agent.
     (b)   On or about July 19, 2012, defendant McDaniel directed
defendants BROWN    ~~d   KING, and others not named as defendants
herein, to travel to the Black Pistons Motorcycle Club clubhouse
in Cleveland, Georgia.
     (c)   On or about July 19, 2012, defendant McDaniel directed

defendants BROWN and KING, and others not named as defendants
herein, to "shutdown" the clubhouse and collect all Black Pistons
and OUtlaw Motorcycle Club vests, known as "cuts, II patches,
belts, rings, t-shirts, and other paraphernalia identified with
the Black Pistons and outlaw Motorcycle Clubs from those present
at the clubhouse.


                                     2
       Case 2:13-cr-00015-RWS-JCF Document 1 Filed 04/24/13 Page 3 of 4




       (d)     On or about July 19 1 2012, defendants BROWN and KING,
and others not named as defendants traveled to the Black Pistons
Motorcycle Club clubhouse in Cleveland, Georgia.
       (e)     On or about July 19, 2012, defendants BROWN and KING,
and others not named as defendants herein, closed the Black
pistons clubhouse and collected all Black Pistons and OUtlaw
Motorcycle Club vests, known as "cuts," patches, belts, rings          I   t-
shirts, and other paraphernalia identified with the Black Pistons
and Outlaw Motorcycle Clubs.
       All in violation of Title 18, United States Code      t   Section
371.

                                 COUNT TWO
                          (18 U.S.C. § 1512 (c)   (2)

       On    or about July 19, 2012, in the Northern District of
Georgia, the defendants     t   LARRY MCDANIEL, a/k/a "Larry Mack,K
HOWARD BROWN, and SEAN KING, aided and abetted by each other and
others, did corruptedly obstruct, influence, and impede, and did
attempt to corruptedly obstruct, influence, and impede, an
official proceeding, to wit: an investigation being conducted by
the Federal Bureau of Investigation (FBI) in which D.B.S. was
acting as an undercover informant for the FBI and Michael
Griffin, a/k/a "Griff,n a law enforcement officer, was acting in
an undercover capacity, in violation of Title 18, United States
Code, Sections 1512(c) (2) and 2.



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     Case 2:13-cr-00015-RWS-JCF Document 1 Filed 04/24/13 Page 4 of 4




                             COUNT THREE
                       (lB U.S.C. §lS12 (c) (2)
     On or about July 19, 2012, in the Northern District of
Georgia, the defendants, LARRY MCDANIEL, a/k/a "Larry Mack,"
HOWARD BROWN, and   SEAN   KING, aided and abetted by each other and
others, did corruptedly obstruct, influence, and impede, and did
attempt to corruptedly obstruct, influence, and impede an
official proceeding, to wit: a federal grand jury investigation
into criminal offenses investigated by the FBI, said FBI
investigation involving O.B.S. acting as an undercover informant
and Michael Griffin, a/k/a "Griff,N a law enforcement officer,
acting in an undercover capacity, in violation of Title 18,
United States Code, Sections lS12(c) (2) and 2.


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                                                               _______ BILL
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                                                      FOREPERSON
SALLY QUILLIAN YATES
UNITED STATES ATTORNEY

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WILLIAM L. MCKINNON, JR. l
ASSISTANT UNITED STATES A
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